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     1          Richard Spencer
                734 Clearwater Dr.
     2          Whitefish, MT 59937

     3

     4
                           UNITED STATES COURT OF APPEALS FOR THE FOURTH CIRCUIT
     5

     6              ELIZABETH SINES et al.,                        Case No: 3:17-cv-00072-NKM

                    Plaintiffs
     7
                                                                   INFORMAL BRIEF
                    vs.
     8
                    RICHARD SPENCER,
     9
                    Defendant
    10

    11

    12
                Comes now the Informal Brief of Defendant Mr. Richard Spencer in his appeal of Sines v.
    13
         Kessler.
    14

    15   Issue 1: Denial of Change of Venue Motion

    16          If any trial were deserving of a change of venue, it was this one. This case involved a

    17   political protest (“Unite The Right” of August 2017), that was highly controversial and hotly

    18   debated even before it took place; since August 2017, the rally has become synonymous with the

    19   city of Charlottesville itself. The death of a counter-protester and prominent member of the

    20   community, Heather Heyer, and other tragic and disturbing events made emotions surrounding

    21   the case intense to say the least. It is true that most Americans who closely follow the news

         might have heard about the UTR protest, and perhaps formed opinions on it; citizens in the
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     1   environs of city of Charlottesville, however, were directly affected by it. The status of Mr.

     2   Spencer’s co-defendent Jason Kessler, who resided in Charlottesville before and after the UTR

     3   rally and was controversial in the community, only added to the inappropriateness of holding the

     4   trial in the city.

     5
         Issue 2: The Striking of Mr. Spencer’s Motion for Summary Judgement
     6
                 Mr. Spencer made an untimely filing of his Motion for Summary Judgement (MSJ) on
     7
         October 19, 2022, more than a year before the trial began. With a trial first scheduled for the fall
     8
         of 2020, Judge Hoppe set a deadline of August 7, 2020, for Defendants to deliver their MSJ. That
     9
         June, Mr. Spencer’s attorney withdrew from the process, and did so without filing or drafting a
    10
         MSJ. With the trial delayed until April 2021 due to the COVID-19 pandemic—and subsequently
    11
         delayed again until October 2021—Mr. Spencer took up the task of researching and drafting a
    12
         MSJ as a pro se litigant. The Plaintiffs and the Court had ample time to respond to and decide on
    13
         the matter. On September 14, 2020, in a status conference call before Judge Moon, Mr. Spencer
    14
         (along with other Defendants) clearly voiced his desire to file a MSJ and requested a “reasonable
    15
         deadline.” Presumably, the Court was inclined to allow new MSJ to be filed, otherwise the topic
    16
         would not have been broached; however, Mr. Spencer failed to adequately request that these
    17
         deadlines be set, and filed his MSJ a month after that deadline had passed. Two issues emerge:
    18
         First, as he wrote in an apology to the Court, “Mr. Spencer’s tardiness [has] not done serious or
    19
         irreparable harm to the process.” The Plaintiffs and Court had more than a year to respond. And
    20
         due to the Covid-19 pandemic, few trials were taking place. Secondly, after the summer of 2020,
    21
         Mr. Spencer was operating as a pro se litigant. He thus should have been granted a certain charity
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     1   and leeway—with the condition that he takes his responsibilities seriously and is not, in a bad-

     2   faith manner, attempting to delay justice. His MSJ brought up serious legal and Constitutional

     3   issues for the Court, and Mr. Spencer incorporates these arguments in his appeal. These were not

     4   properly considered by the Court, denying Mr. Spencer a fair trial. See Wells Fargo Bank v.

     5   Jenkins, 2021 U.S. Dist. LEXIS 250984 (E.D. Va. 2021); United States v. Mraz, 274 F. Supp. 2d

     6   750 (D. Md. 2003; and Canady v. Erbe Elektromedizin GmbH, 307 F. Supp. 2d 2 (D.D.C. 2004).

     7

     8   Issue 3: Claim IV Was Wrongly Decided and Contradicted Testimony

     9          Claim IV involves the Friday-night torch rally and relies on Virginia Code §8.01-42.1.

    10   Critically, Claim IV is not a conspiracy charge. Virginia Code §8.01-42.1 addresses direct,

    11   racially motivated violence and vandalism. The Court observed that the August 11 torchlight

    12   march becomes actionable when it is combined with the violent activity that took place

    13   surrounding the Jefferson Statue. Otherwise, the march itself amounts to constitutionally

    14   protected speech.

    15          During trial, Mr. Spencer questioned Plaintiffs Romero and Willis on the stand. They

    16   both claimed to have known about or read about Mr. Spencer before UTR. They thus likely could

    17   have recognized him on the night of the march, and surely would have remembered him if he had

    18   ever “gotten up close and personal.” Yet both Plaintiffs were at the very most vague and

    19   noncommittal about seeing Mr. Spencer on the night of August 11, 2017.

    20          From Mr. Spencer’s cross-examination of Plaintiff Romero:

    21                  Mr. Spencer: You attended the torchlight rally on August 11th. Did you at any
                        point see me during those activities?

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     1                  Ms. Romero: I don't remember who I really saw. Like, if I saw pictures of people,
                        maybe I could, you know, but —
     2
                        Mr. Spencer: Well, I understand that, but you seem to at least have a pretty good
     3                  familiarity with what I look like. Did you see me at all during that torch rally?

                        Ms. Romero: What were you wearing that night?
     4
                        Mr. Spencer: I was wearing a blue shirt.
     5                  Ms. Romero: If you showed me, like, maybe what you looked like, I could…

     6                  Mr. Spencer: Well, I'm right here.

                        (Romero — Cross, p. 88)
     7
                From Mr. Spencer’s cross-examination of Plaintiff Willis:
     8
                        Mr. Spencer: [B]eing that I'm here now, so you can recognize me -- I look more
     9                  or less like I did then -- did you recall seeing me?

    10                  Mr. Willis: My memory is not that strong. I couldn't tell you if you were one of
                        the hundreds of faces, you know.
    11
                        (Willis — Cross, p. 73)
    12          Plaintiffs Sines is not included in Claim IV, but her testimony is relevant. Ms. Sines

    13   remembered being near Mr. Spencer on the night of August 11:

    14                  Mr. Spencer: [D]id I physically confront you at all on August 11th when we were
                        around 10 feet apart?
    15
                        Ms. Sinese: No, you did not.
    16                  Mr. Spencer: Did I yell invectives at you or anything like that while we were 10
                        feet apart?
    17
                        Ms. Sines: No, you did not.
    18
                        Mr. Spencer: On August 12th did we encounter each other in any way?
    19                  Ms. Sines: No. I do not recall seeing you on August 12th.

    20          Again, Claim III is not a conspiracy charge. Thus, Mr. Spencer must have directly

    21   harmed the Plaintiffs, or expressly ordered someone to harm them, for Virginia Code § 8.01-42.1

         to be operative. No evidence was presented at trial that suggested either of those possibilities. In
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     1   fact, the Plaintiffs testified to the contrary. Mr. Spencer finds himself in the unenviable position

     2   of being found liable for actions that the Plaintiffs testified he did not do.

     3

     4   Issue 4: Plaintiffs Who Are Not African-American Cannot Properly Allege a

     5   Section 1985(3) Conspiracy
     6
                 Of the ten plaintiffs in this case, six were not African-American, including lead Plaintiff
     7
         Elizabeth Sines. This is important because it is at odds with established law regarding Section
     8
         1985(3), and sets a precedent that profoundly enlarges the scope of Section 1985(3) and the
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         Thirteenth Amendment. To state a claim under Section 1985(3), a plaintiff must prove the
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         following: (1) a conspiracy of two or more persons, (2) who are motivated by a specific class-
    11
         based, invidiously discriminatory animus to (3) deprive the plaintiff of the equal enjoyment of
    12
         rights secured by the law to all, (4) and which results in injury to the plaintiff as (5) a
    13
         consequence of an overt act committed by the defendants in connection with the conspiracy.
    14
         Simmons v. Poe, 47 F.3d 1370, 1376 (4th Cir.1995). The Court maintained that the plaintiffs’
    15
         allegations met the required pleading standards for the second element above, i.e., racial or class-
    16
         based animus, as to all the plaintiffs, including those who are not African-American. Given the
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         Supreme Court’s and Fourth Circuit’s narrow circumscription of Section 1985(3) claims in cases
    18
         such as United Brotherhood of Carpenters v. Scott, 463 U.S. 825 (1983), Bray v. Alexandria
    19
         Women’s Health Clinic, 506 U.S. 263 (1993), and Harrison v. KVAT Food Management, Inc.,
    20
         766 F.2d 155 (4th Cir. 1985), this holding, Spencer submits, was inconsistent with the controlling
    21
         precedents. The plaintiffs’ Section 1985(3) claim stands or falls on whether they can properly
                 INFORMAL BRIEF - 5
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     1   invoke the Thirteenth Amendment. The plaintiffs who are not African-American cannot do so.

     2   Imparting rights under the Thirteenth Amendment to plaintiffs who are not African-American

     3   would strain that amendment beyond recognition.

     4

     5   Issue 5: Plaintiffs’ Allegations Did Not Satisfy the Required Pleading

     6   Standards
     7
                The Supreme Court in its Twombly / Iqbal cases has emphasized the importance of taking
     8
         context into account in determining whether a complaint states a plausible claim for relief. See,
     9
         e.g., Ashcroft v. Iqbal, 556 U.S. 662, 665 (2009). So too has the Fourth Circuit. See, e.g., A
    10
         Society Without a Name v. Virginia, 655 F.3d 342, 347 (4th Cir. 2011). Four aspects of the
    11
         context in which the allegations in the plaintiffs’ amended complaint must be placed and tested to
    12
         determine if they meet the Twombly / Iqbal plausibility standard merit emphasis, particularly
    13
         with respect to defendant Spencer.
    14
                First, bracketing out for the moment the violent confrontations that occurred, defendants
    15
         were engaged in classic protected First Amendment activity. Had no violence erupted, there
    16
         would be no issue of actionable conduct by the defendants. Second, the defendants’ rallies and
    17
         marches involved numerous different groups, hundreds of people, and several different venues
    18
         over two days. Obviously, coordinating this many groups, people, and venues required
    19
         substantial planning, organization, and direction. Again, there was nothing inherently actionable
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         about this planning, organization, and direction. Third, large numbers of counterprotestors came
    21
         to the August 11 and 12 events. The plaintiffs were not simply peaceably attending to other
                INFORMAL BRIEF - 6
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     1   matters at the venues when the defendants burst upon them; the plaintiffs were there because

     2   they were engaged in a counter-protest. And it is obvious as well that they did so prepared and

     3   with plans to confront the defendants. The August 11 torchlight rally was intended by its

     4   organizers to be kept secret from the plaintiffs and other counterprotestors. The pro-monument

     5   protestors were not seeking confrontation, but it happened, because the counterprotestors

     6   directed their energies into finding out about the torchlight rally, traveling to it, and confronting

     7   their perceived political enemies by locking arms around the Jefferson statue. Natalie Romero

     8   and Devin Willis chose to be at the Jefferson statue and exercise their own First Amendment

     9   rights as counter protestors, as the Plaintiffs themselves articulated in their Opening Statement,

    10                  On August 11th, Natalie and Devin were at a spaghetti dinner at the home of one
                        of their professors when they learned that white nationalists were planning to
    11                  march through campus that evening. Natalie and Devin drove to campus in a car
                        with a bunch of their friends who had attended the dinner. Their plan was to
    12
                        counter hate and stand up for their own school and their own community.
    13           The Friday-night event was not publicly announced; however, news of it reached the

    14   Plaintiffs (apparently leaked or intercepted). Romero and Willis, under their own free will,

    15   ensconced themselves around the base of the Jefferson statue on the University of Virginia’s

    16   campus. No evidence was presented as to a pre-existing plan to surround Willis and Romero, for

    17   the Defendants (and the rest of the pro-monument protestors) had no idea that they would be

    18   there. The surrounding of Romero and Willis occurred because the two actively placed

    19   themselves in the heart of the action. When asked why he gathered with others at the base of the

    20   Jefferson statue, Mr. Willis’s stated that he wanted to confront the UTR protestors: “[Y]ou guys

    21   are well-known for liking statues.”


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     1          Fourthly, the Supreme Court’s instructs in Twombly and Iqbal that parallel conduct alone

     2   does not suggest conspiracy and that where there is an “obvious alternative explanation” for the

     3   defendant’s alleged conduct that does not entail liability under the plaintiffs’ conspiracy theory,

     4   the plaintiffs have failed to elevate their claim from merely conceivable to actually plausible.

     5   See A Society Without a Name, 655 F.3d at 347 (discussing Twombly and Iqbal standards);

     6   McCleary-Evans v. Maryland Department of Transportation, 780 F.3d 582, 587-88 (4th Cir.

     7   2015) (same). Applying these principles to the contextual aspects identified above, actions such

     8   as attending the August 11 and 12 events, organizing them, and preparing for confrontations with

     9   hostile counterprotestors have a benign obvious alternative explanation.

    10          Important as well is the standard by which one alleged conspirator’s actions are attributed

    11   to an alleged co-conspirator. To support the conclusion that Spencer is liable for the August 12

    12   injuries from Fields’ automobile, or from, to take another example, the August 11 mallee

    13   involving co-defendent Christopher Cantwell, one must invoke the standard that conspirators are

    14   liable for the “reasonably foreseeable acts of their co-conspirators.” The reasonably foreseeable

    15   standard is far too amorphous to use in a Section 1985(3) case or with regard to Claims III and

    16   IV—especially since this case involves sensitive and fundamental First Amendment issues. See

    17   Bray decision (506 U.S. at 275-76).

    18

    19          MARCH 17, 2023

    20

    21                                                              Richard B. Spencer, Pro Se


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     1   CERTIFICATE OF SERVICE

     2   I certify that on MARCH 17, 2023, a true and correct copy of the foregoing was filed

     3   electronically with the Fourth Circuit Court of Appeals.

     4

     5

     6

     7                                                              Richard B. Spencer, Pro Se

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                INFORMAL BRIEF - 9
